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               EXHIBIT A
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                                                  Avinash Samarth

EDUCATION
YALE LAW SCHOOL, New Haven, CT                                                                                2013 – 2016
   § Activities: Clinical Student Board (Chair); Yale Civil Rights Project (Civil Liberties Chair); Yale Law & Policy
      Review (Senior Editor); Yale Journal of Law and Technology (Editor); Green Haven Prison Project (Member).
   § Awards: C. LaRue Munson Prize (for excellence in presenting cases under law school clinical programs).
UNIVERSITY OF PENNSYLVANIA, Philadelphia, PA                                                                  2007 – 2011
   § Bachelor of Arts in Philosophy, Politics, and Economics (PPE), summa cum laude, with distinction.
   § Honors Societies: Phi Beta Kappa, John Marshall.
RECENT EXPERIENCE
NEIGHBORHOOD DEFENDER SERVICE OF HARLEM, New York, NY
Staff Attorney                                                                                                 2020 – 2022
    § Defend 50-70 people at a time from criminal and collateral penalties on all types of felony and misdemeanor cases.
    § Litigate each case from arraignment to disposition. Argue bail applications, motions to suppress, motions to dismiss,
         and motions controverting digital forensic searches. Conduct suppression hearings and trials.
    § Write mitigation letters and counsel clients through diversion and alternative-to-incarceration programming.
NEUFELD SCHECK & BRUSTIN, LLP, New York, NY                                                                    2019 – 2020
Fellow
    § Represented wrongfully convicted persons in state and federal civil lawsuits. Drafted civil complaints, motions to
       compel discovery, responses to motions to dismiss, and demands for discovery.
THE BRONX DEFENDERS, Bronx, NY
Staff Attorney                                                                                                  2016 – 2019
    § Defended nearly 1,000 people accused of misdemeanors and felonies from criminal and collateral penalties.
    § Won eight misdemeanor trials and three suppression hearings. Won over fifteen pretrial motions to dismiss for facial
         insufficiency, for speedy-trial violations, or in the interests of justice.
    § Successfully briefed and argued an appeal before the Appellate Term, First Judicial Department of New York.
    § Supervised and evaluated law student interns. Assisted in training new attorneys. Served as an office writing tutor.
MEDIA FREEDOM AND INFORMATION ACCESS CLINIC, YALE LAW SCHOOL, New Haven, CT
Law Student Intern                                                                                            2015 – 2016
   § With three other students, handled all aspects of three Freedom of Information Act (FOIA) civil lawsuits.
THE BRONX DEFENDERS, Bronx, NY
Legal Intern                                                                                                        2015
   § Interviewed people held at arraignments and argued for their release. Researched and wrote motions to dismiss and
        mitigation letters. Analyzed and summarized over 600 discovery documents for a homicide case.
JEROME N. FRANK LEGAL SERVICES ORGANIZATION, YALE LAW SCHOOL, New Haven, CT
Law Student Intern, Criminal Justice Clinic                                                                2014 – 2016
Co-Director
   § Represented people from arraignment to dismissal in New Haven courts.
   § Wrote clemency petitions and won immediate release for three people from federal drug sentences, including two
       from life-without-parole sentences.
Law Student Intern, Educational Opportunity and Juvenile Justice Clinic                                       2014 – 2016
   § Represented children in expulsion hearings before the New Haven Public School District.
FEDERAL DEFENDERS OF NEW YORK, EASTERN DISTRICT OF NEW YORK, Brooklyn, NY
Legal Intern                                                                                                          2014
   § Interviewed clients, wrote sentencing and plea negotiation letters, and analyzed discovery documents.
   § Secured a deferred prosecution and a time-served sentence. Researched and wrote motions to suppress.
AMERICAN CIVIL LIBERTIES UNION FOUNDATION, New York, NY
Paralegal, National Security Project / Legal Assistant, Speech, Privacy, and Technology Project               2011 – 2013
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               EXHIBIT B
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                                                        ALL HOURS
Date        Person          Client            Activity   Description                                   Duration Time Totals
 16-Oct-19 Avinash Samarth Rosario (Richard) Meeting     Dep   prep meeting  with Nick and Rick            0:30         0.5
 18-Oct-19 Avinash Samarth Rosario (Richard) Deposition Fayer dep                                          3:00         3.0
 18-Oct-19 Avinash Samarth Rosario (Richard) Deposition Fayer dep                                          1:30         1.5
  4-Dec-19 Avinash Samarth Rosario (Richard) Meeting     Meeting with Anna, Emma, Ali, Bettina re: MSJ     0:48         0.8
 18-Dec-19 Avinash Samarth Rosario (Richard) Meeting     Meeting with Rick, Nick, Anna, Ali                1:00         1.0
 18-Dec-19 Avinash Samarth Rosario (Richard) Digest      digest whitaker                                   1:00         1.0
 19-Dec-19 Avinash Samarth Rosario (Richard) Digest      digest  whitaker                                  2:30         2.5
 19-Dec-19 Avinash Samarth Rosario (Richard) Digest      digest whitaker                                   0:30         0.5
 19-Dec-19 Avinash Samarth Rosario (Richard) Digest      digest whitaker                                   0:30         0.5
 19-Dec-19 Avinash Samarth Rosario (Richard) Digest      digest whitaker                                   1:30         1.5
 20-Dec-19 Avinash Samarth Rosario (Richard) Meeting     SJ meeting with Rick, Nick, and Anna              2:20         2.3
 27-Dec-19 Avinash Samarth Rosario (Richard) Draft       56.1  drafting                                    4:30         4.5
 30-Dec-19 Avinash Samarth Rosario (Richard) Draft       56.1 statement drafting                           1:50         1.8
 30-Dec-19 Avinash Samarth Rosario (Richard) Draft       56.1 statement                                    2:30         2.5
   4-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              7:32         7.5
   5-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              3:58         4.0
   6-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              2:06         2.1
   6-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              2:45         2.8
   7-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              3:30         3.5
   8-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              4:18         4.3
   9-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              5:58         6.0
  10-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              5:45         5.8
  10-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              6:00         6.0
  13-Jan-20 Avinash Samarth Rosario (Richard) Meeting    56.1/SJ  meeting                                  1:30         1.5
  13-Jan-20 Avinash Samarth Rosario (Richard) Phone Call meet w/ AF, RS                                    0:18         0.3
  14-Jan-20 Avinash Samarth Rosario (Richard) Meeting    meeting with rick re: 56.1                        1:40         1.7
  15-Jan-20 Avinash Samarth Rosario (Richard) Draft      56.1                                              7:18         7.3
  16-Jan-20 Avinash Samarth Rosario (Richard) Meeting    56.1/SJ meeting                                   1:20         1.3
  16-Jan-20 Avinash Samarth Rosario (Richard) Draft      letter motion  drafting                           1:30         1.5
  16-Jan-20 Avinash Samarth Rosario (Richard) Meeting    Meet   w/ RS,  AF re: MSJ                         0:12         0.2
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17-Jan-20 Avinash Samarth Rosario (Richard) Draft      letter motion drafting                          3:20     3.3
21-Jan-20 Avinash Samarth Rosario (Richard) Draft      MSJ letter draft                                2:19     2.3
21-Jan-20 Avinash Samarth Rosario (Richard) Draft      MSJ letter draft                                1:00     1.0
21-Jan-20 Avinash Samarth Rosario (Richard) Draft      MSJ letter draft                                0:42     0.7
22-Jan-20 Avinash Samarth Rosario (Richard) Draft      MSJ letter draft                                0:34     0.6
22-Jan-20 Avinash Samarth Rosario (Richard) Draft      MSJ letter draft                                1:12     1.2
27-Jan-20 Avinash Samarth Rosario (Richard) Meeting    Meet w/ ABH , BR, RS, AF re: MSJ response       1:00     1.0
 3-Feb-20 Avinash Samarth Rosario (Richard) Meeting    Meet w/ RS re: MSJ response                     0:12     0.2
 3-Feb-20 Avinash Samarth Rosario (Richard) Meeting    Meet w/ Rick re: R 56.1 statement               0:18     0.3
 7-Feb-20 Avinash Samarth Rosario (Richard) Meeting    with bettina, rick, anna, ali                   1:00     1.0
 7-Feb-20 Avinash Samarth Rosario (Richard) Digest                                                     3:00     3.0
10-Feb-20 Avinash Samarth Rosario (Richard) Draft      MSJ brief outline                               4:37     4.6
10-Feb-20 Avinash Samarth Rosario (Richard) Draft      MSJ brief outline                               0:32     0.5
10-Feb-20 Avinash Samarth Rosario (Richard) Meeting    with bettina, anna, emma, nick, rick            1:30     1.5
10-Feb-20 Avinash Samarth Rosario (Richard) Draft      MSJ outline                                     0:31     0.5
13-Feb-20 Avinash Samarth Rosario (Richard) Meeting    SJ meeting                                      0:25     0.4
13-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1                                            4:45     4.8
13-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1                                            2:00     2.0
14-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1                                            2:08     2.1
14-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1                                            4:04     4.1
15-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1                                            7:44     7.7
16-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1 affirmative citecheck                      1:51     1.9
16-Feb-20 Avinash Samarth Rosario (Richard) Research   rejoining silverman research                    1:38     1.6
16-Feb-20 Avinash Samarth Rosario (Richard) Draft      responsive 56.1 review                          2:07     2.1
17-Feb-20 Avinash Samarth Rosario (Richard) Research   MSJ research                                    7:01     7.0
18-Feb-20 Avinash Samarth Rosario (Richard) Meeting    brief                                           1:42     1.7
19-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1 cites                                      1:47     1.8
21-Feb-20 Avinash Samarth Rosario (Richard) Draft      56.1 drafting and filing                        4:45     4.8

                                                                                                   Total      143.4
